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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                Southern District
                                                __________        of New
                                                             District     York
                                                                      of __________

IN RE FOREIGN EXCHANGE BENCHMARK RATES
           ANTITRUST LITIGATION
                                                                 )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )       Civil Action No. 1:13-cv-07789-LGS
                                                                 )
                                                                 )
                            Defendant
                                                                 )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached Schedule A




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CHRISTOPHER M. BURKE
                                         SCOTT+SCOTT, ATTORNEYS AT LAW, LLP
                                         707 Broadway, Suite 1000
                                         San Diego, CA 92101
                                         Telephone: 619-233-4565


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:      3/31/2014                                                              /S/ Courtney Decasseres
                                                                                      Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:13-cv-07789-LGS

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
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In Re Foreign Exchange Benchmark Rates Antitrust Litigation
Case No. 1:13-cv-07789-LGS

                              SCHEDULE A TO SUMMONS

Bank of America Corporation
100 North Tryon Street
Charlotte, North Carolina 28255

 Bank of America, N.A.
101 South Tyron Street
Charlotte, North Carolina 28255
